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173306 LIENS Pages: 1

STATE OF MONTANA, VALLEY COUNTY
RECORDED: 05/12/2021 04:50 KOl: LIEN
MARTE L. PIPPIN CLERK AND RECORDER
FER: $7.00 BY: i

Retum to: , Maric d Baer,

U.S. Attomey's Office TO:U.8, AtLy's Office - MT ~ PO Ddd-FOAQ2-12X-0074

Atin: FLU

2601 Second Avenue North, Suite 3200

Billings, MT 59101

DEPARTMENT OF JUSTICE

NOTICE OF LIEN FOR FINE AND/OR RESTITUTION IMPOSED PURSUANT TO
THE ANTI-TERRORISM AND EFFECTIVE DEATH PENALTY ACT OF 1996

United States Attorney's Office Serial Number
District of Montana 2019A07230

NOTICE is hereby given of a lien against the property of the defendant named below. Pursuant to
Title 18, United States Code, § 3613(c), a fine or an order of restitution imposed pursuant to the provisions
of subchapter C of chapter 227 is a lien in favor of the United States upon all property belonging to the
person fined or ordered to pay restitution. Pursuant to § 3613(d), a notice of lien shall be considered a
notice of lien for taxes for the purposes of any Stale or local law providing for the filing of a tax lien. The lien
arises at the time of the entry of judgmant and continues until the liability is satisfied, rarmnitted, or set aside,
or until it becomes unenforceable pursuant to § 361 3(b).

Name of Defendant/Social Security Number Court Number

Jonn Moore/**-**-2872 CR 17-42-GF-BMM

Residence Date of Entry of Judgment

Glasgow, MT 59230 January 31, 2019

Amount of Fine/Restitution Court Imposing Judgment
$2,224,917.00 U.S. District Court - District of Montana

If payment becomes past due, penalties totaling up to 25 percent of the principal amount past due may
arise. 18 U.S.C. § 3612(g).

IMPORTANT RELEASE INFORMATION--With respect to the lien listed above, this notice shal! operate as a certificate of
release pursuant to 18 U.S.C. § 3613(b) by operation of law, but no later than June 30, 2049.

Place of Filing: Valley County Clerk and Recorder, 501 Court Square #2, Glasgow, MT 59230.

This notice was prepared and signed at Billings, Montana, on this 12th day of May, 2021,

Ae

VICTORIAS AFRANCIS
Assistant United States Attorney

EXHIBIT

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